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                                                                                  I




                        Tuesday Apr 5' 11:38AM


                      Can I call you? This
                      is Mark from JaScott
                      Investment. We spoke
                      yesterday

                         Friday, Apr 8' 10:32   AM

                                        I'll call you back.


                      Good Morning, are you
                      available?
                      Apr 8, 10:33 AM


          ®       L       Text message

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                 Tuesday, Apr 12         2:06 PM
                                                        I
                                                               B
           Texting with (612) 662-4205 (SMS/MMS)



               Hey Brandon, This is
               mark over here from
               JaScott Investment, I
               got a good news for you
               call me back please
               Apr 12, 2:06 PM


                         In a meeting. Will call
                         when able

               yes sure, I'm waiting

                 Tuesday, Apr         12 4:58 PM

               please check your mail,
               just send o"r the
               business ' " 'ed check
                     I    I       I




                         iext message              ©    '

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II GrnaiI                                                                                Brandon



Professional curtesy response
1   message

Dave Thurber <dave@upwisecapital.com>                                                                  Tue, Apr 19, 2022 at 9:52 AM
To: Brandon Callier <callier74gmail.com>, Mark Fawzy <mark.fawzy@jascott.org>

    Brandon,

    We have left multiple messages and have tried to reach you. Please advise on the lack of communication and when we
    are going to be completing this deal.

    Get Outlook for iOS
                                                                                                                     PLAINTIFF'S
    From: Dave Thurber <dave@upwisecapital.com>                                                                        EXHIBLT

    Sent: Wednesday, April 13, 2022 9:42:10 AM
    To: Brandon Callier <callier74gmail.com>; Mark Fawzy <mark.fawzyjascott.org>
    Subject: Re: Funding Offers
                                                                                                                         C
    Brandon,

    Contracts were sent to you just now. Bank verification is below. Let me know when you complete both.

    https://www.decisionlogic.com/44B2G6

    On Tue, Apr 12, 2022 at 7:10 PM Brandon Callier <callier74gmailcom> wrote:

      On Tue, Apr 12, 2022, 5:01 PM Dave Thurber <dave@upwisecapital.com> wrote:
        Good afternoon Brandon,

        I will be assisting with the closing process here. Per Mark's email, please send over the business voided check and

        your drivers license. We will send you contracts sometime tomorrow once we have received both.

        From there, the order for funding will go as follows.

        - Signed contracts (Will be sent to your email)
        - Bank verification (I will send you a link that allows us to confirm statements are not fraudulent/it is protocol)
        - Funding call (takes 3-5 minutes)

        On Tue, Apr 12, 2022 at 6:56 PM Mark Fawzy <mark.fawzy@jascott.org> wrote:
          Please send over this documents, We are preparing the contract paper and getting back to you soon.
          Thank you.

            Business voided check
          - Owners Drivers License




        Best Regards,


        Dave Thurber
        Funding Manager
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      Opj


 Federal Ta* lD XX-XXXXXXX                                                    State of Formation: TX   Type of Entlty LIMITED LIABILITY COMPANY
 Bank Name (Business Act): SEE VOIDED CHECK           Bank ABA No.: SEE VOIDED CHECK           Bank Acc. No.: SEE VOIDED CHECK
 Physical Address: 12200 FOU(LORE CT., EL PASO, TX 79936                      MailIng Address: SAME AS LEFT
 PlNo.       915-383-4504     Fas No.:                Business Start Date: 2016                Credit Card Processor Namer

 Name of Guarantor 1: BRANDON CAWER                                                      DOB: 06/16/1974            SSN: XXX-XX-XXXX
 Physical Address: 6336 FRANKliN TRAIL DR., EL PASO, TX 79912                            MaIling Address: SAME AS LEFT
 Email Address: CALLIER74@GMAIL.COM                                                      CaM Phone No.:
 Bank Name (Personal Aec.):                            Bank Acc. No.:                                     Branch Address:
 Name of Guarantor 2:                                                                    DaB:                       SSN:
 Physical Address:                                                                       Mailing Address:
 Email Address:                                                                          Cell Phone No.:
 Bank Name (Personal Acc.):                            Bank Acc. No.:                                      Branch Address:
 Name of Owner/PrIncipal 3:                                                              DOB:                       SSN:
 Physical Address:                                                                       Mailing Address:
 Email:                                                                                  Cell Phone:
 Bank Name (Personal Acc.):                            Bank Acc. No.:                                        Branch Address:
 Name of Owner/PrIncipal 4:                                                              DOB:                        SSN:
 Physical Address:                                                                       Mailing Address:
 Email:                                                                                  Cdl Phone:
                                                       Bank ACC, No.:                                        Branch Address:

 PAC WETER1ReIAm.yu. I.u. t        uvwmt r..pj'i IAL FUNDING (together with its successors and/or assigns, the   "tir)
                                                                                                                     hereby purchases from the Seller set forth above (the
 "Selic). a percentage, as specified below (the Purchased Percentace"). of the proceeds of each future sale by Seller whether the proceeds are paid by cash, check. ACH,
credit card, debit card, bank card, charge card and/or and other means (collectively "Future Sale Proceeds') until the Buyer has received the amount specified below (the
"Purchased Amount"l for the purchase price ("Purchase Prlce"l set forth below. The funded amount ("Funded Amount") Is the amount to be received by the Seller. See Use
of50k Proceeds ftemlzotfon below.
                                                                 USE OF SALE PROCEEDS ITEMIZATiON
Purdase Price: $50000.00                    Purchased Percent 20%                                            Purchased Amount $71,000.00
Mfljs the Cosing Fee: $1,500.00             Mkw.s Amount Paid to Previous Agreement $0.00                    Funded Amount to be Received by Sailer $48,500.00
In exchange for the foregoing, the Seller hereby agrees to deposit all Future Sale Proceeds Into the bardt account Identified above (or such other bank account as may be
approved by the Buyer pursuant to the provisions hereof, the 'Bank Account"i maintained with the bank holding the Bank Account (the "Bgnki, and the Seller hereby
authorizes Buyer and Its agents to Initiate electronic checks or Automated Clearinghouse (ACH) payments equal to the Purchased Percentage of all deposits made into the
Bank Account until the Buyer has received an amount equal to the Purchased Amount.

 lo                uf Buyer er,l.erl,. lrL tl,, A6eer,,ent, and to induce Buyer to enter into this Agreement, the undersigned principal(s) of Seller ("guMantoc(sfl hereby
 personally guarantee resarantesi to Buyer that: (I) all Information provided by Sailer to Buyer In connection with the transaction contemplated by this Agreement is true,
 correctand complete; (ii) Seller shall exdusively use the bank account for the deposit of all future sale proceeds and shall not close the bank account or cease to use the bank
 account as the sole account Into which to deposit all future sale proceeds, in each case, prior to the time that Buyer has received the entire purchased amount: and (lii) Seller
shall not breach, or do any of the acts prohibited by, Section 3.1 and 4.4 of this Agreement. This Guarantee shall be the continuing, irrevocable, unconditional and joint and
 several obligations of the Guarantor(s), and the Guarantor(s) hereby waive demand of payment, notice of presentment, and any and all requirements of notice, defenses,
 offsek and counterclaims and any other act or omission of Buyer which changes the scope of the Guarantor(s)' risk, and Guarantor(s) further agree that Buyer may proceed
 directly against the Guarantor(s) without first proceeding against Seller. Guarantor(s) further guarantees the payment of and agrees to pay all Indemnified Amounts (as
 defined in Section 5.7 hereof). By signing below Guarantor(s) agree to this Guarantee and agree to and remake each representation, warranty and covenant set forth In
Sections 2.1, 3 and 4.1 and 4.4 hereof, whIch representations, warranties and covenants shall survive the execution and delivery or termination of this Agreement as provided
in Section 5.8 hereof. The Guarantor(s) specifically consent and agree to be bound by the terms and conditions of this Agreement which are appilcable to Guarantor(s),
lncludlngSectlon 5.10 Covenant Not to Sue, Section 5.11 Waiver of JuryTrial, SectIon 5.12 Walverof Punitive Damages, And Section 5.13 WaIver of Class Action.

Upon execution hereof, each of the parties hereto shall be obligated hereunder and shall be subject to all of the terms and conditions stated on this page and on the attached
Addional Terms of Agreement, including Addenda or Riders, if any, hereto (collectively, this 'Aereement"I. including Section 5.10 Covenant Not to Sue. SectIon 5.11 Waiver
of Jury Trial, SectIon 5.12 Waiver of PunitIve Damages, And Section 5.13 Waiver of Class Action. The person executing this Agreement on behalf of the Seller warrants and
represents that he/she is authorized to bind the Seller to all of the terms and conditions set forth on this page and on the attached 'Additional Terms of Agreement" and that
all of the information provided herein Is true and accurate is all respects. Buyer's payment of the Purchase Price shall be deemed Buyer's acceptance of this Agreement.




      SIgnature:                                         Date:                            Signature:                                           Date:


      Name: BRANDON CAIUER                               Title:                           Name: BRANDON CALLIER                                Title:


                                                                                                                                               Date:


                                                                                          Name:                                                Title:
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tvi Email                                                                      Brandon Callier <callier74gmail.com>



Please DocuSign: GONNA KEEP ON TRUCKIN AGREEMENT 041322
1   message

Pac Western Financial via DocuSign <dse_NA4docusign.net>                                    Tue, Apr 19, 2022 at 11:44 AM
Reply-To: Pac Western Financial <info@pacwesternfinancial.com>
To: Brandon Callier <CALLIER74gmail.com>

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                                                 REVIEW DOCUMENT




              Pac Western Financial
              info@pacwesternfinancial.com

              Hi there,


              Thank you for requesting contracts through your sales office, who we have copied on this
              email. To complete the funding process please click the link, review the agreement, and
              follow the prompts to execute the agreement (a copy of which will be emailed to you for
              your records when completed.)

              Additionally, please send a screen shot/print out of the complete month-to-date bank
              activity. Funding typically occurs the same day all of these items are received in their
              entirety.

              Please let us know should you have any questions.

              Pac Western Financial
              info@pacwesternfinancial.com
              Direct: 801-382-7750
              www.pacwesternfinancial.com
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   <     (612)66242O5           Dl
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          sir this is Mark from
          JaScott investment
          did you completed the
          bank verifi cation?

                I am getting bombarded
                with phone calls from
                funding agencies.
                Literally 50 per day.
                I can't even work

                because of the calls.
                I don't know whose

                who. I'm sending this
                to everyone. Nothing
                personal. Please don't
                call or text again.

          i   just send you the email
          again

          at callier7
                           4,


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                Text message

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      <     (612)662-4205           [a'.            .1!          PLAINTIFF'S
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                      because ot the calls.
                      Idon't know whose
                      who. I'm sending this
                      to everyone. Nothing
                      personal. Please don't
                      call or text again.
                                Apr 19, 2:31 PM      SMS

                I   just send you the email
                again
                Apr 19, 2:33 PM

                at callier74
                you got the mail from
                mark.fawzyjascott
                .org

                     Tuesday, Apr 194:26 PM


                As you have said you
                are gettinp '1asted
                with calls 4' t save

            [             Text message

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<   (612) 662-4205


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          Tuesday, Apr 19                                    EXHIBIT



      As you have said you                              I
                                                               H
      are getting blasted
      with calls. Just save
      my number and
      my Underwritter
      (51 6)376-3680 as we
      are the ones. who will
      be getting you funded.
      I realize we are in an


      industry that numbers
      get back doored and
      people's numbers get
      stolen. I can assure
      you that was not
      from us, as our only
      interest is gethng this
      deal across the finish
      line and not having
      our client's harassed.
      Please let' know
      when you'1e signed

              Text message              ©
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           Upwise capital

           When will you be
           completing the
           contracts we sent over
           last week?

            Wednesday, Apr 20' 11:04 AM


           So will you be signing..?
           I'll text since you don't
           want me to call.

                Wednesday, Apr 20 '2:34 PM


           Brandon to clarify you
           realize this is dave at
           Upwise. We have the
           $50k contracts out with
               Lø1I   I




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Pi Gmail                                                                         Brandon Callier <caIIier74gmail.com>



Funding Offer
6 messages

Mark Fawzy <mark.fawzyjascott.org>                                                            Thu, Apr21, 2022 at 3:17 PM
To: callier74 <callier74gmail.com>
Cc: Mitchell Scott <ms@jascott.org>, dave <dave@upwisecapital.com>

  Hey Brandon,

  This is Mark, We spoke few minutes back. I am really sorry to hear out that you are getting bombarded with so many
  calls from so many financial companies but here is the thing I am your money guy. You have forwarded us your
  Application, statements, Driver's license & Voided check. You are just one step away to have the $50,000 on your
  account. Please check your inbox you got the contract paper from info@pacwesternfiancial.com
  Just sign out the contract paper and here is the bank verification below. Just confirm it & everything will be done.

  Please do call me back if you have any query. +1612-662-4205
                                                                                                        PLAINTIFF'S
                                                                                                          EXHIBIT




  Best Regards,

  Mark Fawzy.



Mark Fawzy <mark.fawzy©jascott.org>                                                            Fri, Apr 22, 2022 at 9:32 AM
To: callier74 <callier74gmail.com>
Cc: Mitchell Scott <msjascott.org>, dave <dave@upwisecapital.com>

  Good Morning Brandon, Did you got the chance to sign out the contracts?
  I am trying to reach you. Give me a callback




      On Fri, 22 Apr 2022 03:17:45 +0600 Mark Fawzy <mark.fawzyjascott.org> wrote
  [Quoted text hidden]




Dave Thurber <dave@upwisecapital.com>                                                          Fri, Apr 22, 2022 at 5:39 PM
To: Mark Fawzy <mark.fawzyjascott.org>
Cc: Mitchell Scott <ms@jascott.org>, callier74 <callier74@gmail.com>


  What's the delay here Brandon?
  [Quoted text hidden]



  Best Regards,


  Dave Thurber
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        '(    (516) 376-3680



               You said you wanted                              PLAINTIFF'S
                                                                 EXHIBIT
               this done before the
               weekend give or take.
               We just need you to                                            I
               sign and complete bank
               verification

                    Monday, May 2' 5:49 AM

               Brandon did you see the
               two offers sent you via
                               I


               email last week?

               This is dave @ Upwise.
                realize you are getting
                I


               a million calls.


                    Thursday, May 5' 3:23 PM

                Do the offers I sent you
               work?
                May 5, 3:23 PM


                      rext message             ©

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          Gmail                                                                  Brandon Callier <callier74gmail.com>
     i



Funding Offers
2 messages

Mark Fawzy <mark.fawzyjascott.org>                                                             Tue, Apr 5, 2022 at 2:52 PM
To: callier74 <callier74gmail.com>

 Hi Brandon,

 We just spoke on the phone regarding capital options for the business. I've sent my application via docusign which
 you can complete on your computer/smartphone. In order to get you qualified and present options I would need the
 application completed with the last three months of business bank statements and I can put together some options
 within a couple of hours. There is no cost, no obligation and we do not do any hard credit pulls. We base our offers
 solely on the performance of the business.

 Thank you for taking the call and giving me the shot to earn your business.
 Check the docusign email with SUBJECT LINE: Funding Application. Please Docusign: JaScott Loan Application

 And do attach the bank statements and reply back to this email.
                                                                                                         PLAINTIFF'S
                                                                                                           EXHIBIT
 Thankyou.

                                                                                                             L
  Mark Fawzy
  Funding Specialist


  JaScott Investments


 Website : https://www.jascott.org/
 Address : 8500 N Stemmons Freeway Ste 3019 Dallas, TX 75247
 311 N. Mangoustine Ave Sanford Fl, 32771 Eden Prairie, MN



  Email : supportjascott.org
  For more queries call (877) 360-7387



Mark Fawzy <mark.fawzyjascott.org>                                                             Tue, Apr 5, 2022 at 5:02 PM
To: callier74 <caIlier74gmail .com>

  Any update regarding the application and statement? Everything from my side is done as soon as you send will get
                                                                                                              I


  back to you with the offer.




       On Wed, 06 Apr 2022 02:52:31 +0600 Mark Fawzy <markfawzytjascott.org> wrote
  [Quoted text hiddeni
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Home>> Our Team

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environrr::::.                                               markets     serve.




                                            Dr. Len Mallaiah
                                            Founder and CEO



     Dr. Len Mallaiah is the visionary founder of JaScott Enterprises. A Physician by trade, Len has
   always been fascinated with real estate. Initially this fascination was just a hobby. Over tim'
                hobby grew into a passion, which has fueled the success of JaScott.
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Len believes once you have found something you truly love, it is no longer considered work. To
  pursue his vision of building exceptional homes, Len founded JaScott Enterprises under the
      premise of being able to create healthy, happy homes, for individuals and families.




                                         Mitchell Scott
                                      Managing Director



  Originally from East Texas and a graduate of the University of Kansas, Mitch has 13 years of
 experience in Sales, Insurance, IT admin systems and Investing. As a husband and father of 2
      when he is not working he enjoys tennis and spending time with family and friends.

His business practice is to run a lean operation and share the cost savings with our clients. We
place a high value on our customer relationships and understand that a referral is the greatest
                                compliment we can achieve.




                                        Damien Evans
                                      Lending Consultant



      Damien Evans is a native Minnesotan with many years of experience in relationship
  management and customer service. Damien began his career in hospitality but made the
switch when he learned how he could help businesses grow by providing them the capital they
                                             need.
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Damien believes that integrity, hard work, and determination are the keys to success in any path
  in life, and it all begins with a leap of faith. Damien is a husband and a very active father of 3.
When he's not helping businesses grow dreams, you can find him spending time with his family,
                        friends and coaching one of his beautiful children.




                                            [I!T1   II 1ff II
                                          Creative Director



Lisa has over 5 years experience in Creative Design and Project Management. Lisa's passions are
   design, fashion, health and family. She has the rare ability to incorporate her passions into
 everything she does. Lisa's business approach is to love what you do and allow your true self to
 be free and expressive through your work. Lisa's ability to take bold concepts/trends and make
       them accessible to our clients is one of the key advantages of working with JaScott.




                                        Vinay Gangadharan
                                       Digital Strategy Officer



A born and raised NYer, Vinay has over 15 years of experience in Product Development, Customer
 Relations, and Digital Strategy in a number of difterent industries. In all his roles there has been
        one constant and that has always been to improve his customers' experiences.
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   When he's not busy thinking in his customer's shoes, you can find him biking around the city,
     trying a new restaurant or just being awesome. Vinay's easy going personality, wealth of
              knowledge, and positive attitude make him a great asset for our team.




                                            Cheryl Mallaioh
                                      Compliance and Philanthropy


     Cheryl has more than 14 years of experience in Operations Management and Compliance.
    Cheryl's detailed oriented nature and personality make her a great internal resource for our
 clients. She gives our clients great comfort in knowing that we are always just a phone call away.
                Her interests include spirituality, practicing presence, and meditation.




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fr1 GmaiI                                                                             Brandon Callier <calIier74gmail.com>


Working Capital Loan of $60k for Aero Services.
1   message

Mitchell Scott <ms@jascott.org>                                                                     Wed, Apr 6, 2022 at 9:30 AM
To: Brandon Callier <callier74@gmail.com>

    Hi Brandon,
    My name is Mitchell, and you spoke with my teammate, Max Willilams, last week. He asked me to call you to discuss
    helping you obtain a working capital loan of $60k for Aero Services.

    Highlights of our Best Loan Programs
                                                                                                             PLAINTIFFS
                                                                                                               EXHIBIT
           Interest rates as low as 7%
           Terms as long as 8 years
           Monthly Payments
           Offer personal and real estate loans


    The minimum requirements for any of our loan programs are:

           Credit Score: 500
           Monthly Revenue: $5,000
           Time in Business: 6 months

    To qualify for the best Loans terms, here are the minimum requirements:

           Credit Score: 620
           Annual Revenue: $100K
           Time in Business: 1 year
           Business: ( Profitable)

    To get a loan approved from underwriting, here is what we need to move forward:

           Required Documents
                  o   Complete Lending Application (Click on Link)
                  o   Three months of Bank Statements
           Optional Documents ( For best rates and longer terms)
                  o   6 months of bank statements
                  o   YTD Profit and Loss Statements
                  o   Most recent 2 years tax return

    We take pride in our integrity and transparency, so we wanted to send you our Linkedtn profile, Google profile, and
    website so that you can know a little about us and our history.

          JaScott org
          Google Profile
          Linkedin Profile
    If you have any questions, please call me, or email me.

    Mitch Scott
    21 4-2069382
    www.jascott.org
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                                                                                  Brandon Callier <callier74gmail.com>


Please DocuSign: JaScottLoanApplication (1 )pdf
I message

Mitchell Scott via DocuSign <dse_na2@docusign.net>                                               Tue, Apr 5, 2022 at 2:49 PM
Reply-To: Mitchell Scott <msjascott.org>
To: Brandon callier <callier74gmail.com>


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            Mitchell Scott
            ms@jascott.org

         Nice talking to you today. The next step is to complete this application and send over
         your last three months of bank statements. Once we get this back, we can typically have
         our terms back within two days. let me know if you have any questions.

         Thanks




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         This email contains a secure link to DocuSign. Please do not share this email, link, or access code with
         others.
